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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §                      Case No. 2:21-cv-01237-JMV-MF
                                      §
vs.                                   §                      PATENT CASE
                                      §
ORBCOMM, INC.,                        §
                                      §
      Defendant.                      §
_____________________________________ §


           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

Plaintiff Social Positioning Input Systems, LLC hereby files this Notice of Voluntary

Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an

answer. Accordingly, Social Positioning Input Systems, LLC hereby voluntarily dismisses this

action against Orbcomm, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each

party to bear its own fees and costs.

Dated: March 9, 2021                    Respectfully submitted,


                                        /s/Mark Kriegel
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